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                EXHIBIT 1




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                                                                                   46 E Fox Hill Dr
                                                                                   Buffalo Grove IL 60089

                                                                                   February 12, 2022




Chief Judge Beryl A. Howell
United States District Court
District of Columbia
333 Constitution Ave, NW
Washington, D.C. 20001

Dear Chief Judge Howell,

My name is Inna Lapin. I have known Ilya Lichtenstein for over 33 years, which comprises my entire life.
We lived in the same neighborhood in Rostov, Russia and both fled religious persecution a year apart
with our families at the ages of 5 and 6, respectively, both eventually settling in Glenview, Illinois. We
have attended the same elementary and high schools and have been close friends our whole lives. I can
speak with full confidence that he is not a flight risk, and his bail should be granted.

Ilya is extremely close to his family, especially his mother and father and his little brother, Michael. He
visits Chicago several times a year and our families have always spent every Thanksgiving and 4 th of July
holidays together, even when we both grew up and Ilya moved away to California and then NYC.

He is also very close with my parents, as well as aunt and uncle, and just as recently as December 2021,
he was telling me how excited he is to visit Chicago once the pandemic winds down and visit all of us like
he has every single year since moving away. He has a close community of friends and family here and I
cannot imagine he would ever wish to leave the US.

I feel confident that Ilya is not a flight risk and his bail should be granted.

Thank you,

                                  2/12/2022



 X
  Inna Lapin


  Signed by: Inna Lapin
